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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                       MIAMI DIVISION
                                  CASE NO.: 18-25389-Civ-Scola
                                  AT LAW AND IN ADMIRALTY

  NASIM HARA and ALLEGRA HARA,
  INDIVIDUALLY AND ON BEHALF OF AND
  AS PARENTS AND NATURAL GUARDIANS
  OF A MINOR CHILD, D.H.
        Plaintiff
  v.

  ROYAL CARIBBEAN CRUISES LTD. a/k/a
  ROYAL CARIBBEAN CRUISES LTD., A LIBERIAN
  CORPORATION, d/b/a ROYAL CARIBBEAN
  CRUISE LINE and d/b/a ROYAL CARIBBEAN
  INTERNATIONAL,
        Defendant.
  _________________________________

    NOTICE OF SETTLEMENT AND UNOPPOSED MOTION FOR THE COURT TO
                      RETAIN JURISDICTION UNTIL
  THE SETTLEMENT IS CONSUMMATED AND REPORT OF GUARDIAN AD LITEM IS
                         FILED AND APPROVED

         The Plaintiffs, NASIM HARA and ALLEGRA HARA as Parents and Natural Guardian

  and on behalf of their child D.H., a minor, by and through their undersigned counsel, hereby file

  this Notice of Settlement and Motion for the Court to Retain Jurisdiction until the settlement is

  consummated, the Guardian Ad Litem has submitted a report, and this Court has approved the

  Report of the Guardian Ad Litem and the Settlement and the Court correspondingly allow the parties

  additional time to file the Stipulation of Notice of Dismissal, and as grounds therefor state as

  follows:

         1.        The parties have reached a settlement as to all claims brought by NASIM HARA

  and ALLEGRA HARA each Individually, and as Parents and Natural Guardians and on behalf of

  D.H., a minor.

         2.        The case involves a minor which requires court approval of the Guardian Ad

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  Litem’s report and the settlement. See Burke v. Smith, 252 F.3d 1260 (11th Cir. 2001) and the Fl.

  Stat. § 744.3025 and Fla. Stat. § 744.387. The Plaintiffs have filed an unopposed Motion to

  Appoint a Guardian ad Litem at [DE 27].

         3.      Hence, the Plaintiffs respectfully request that this Court retain jurisdiction over

  this matter until the settlement has been consummated, and until such time that this Court has

  approved the Guardian Ad Litem’s report and the settlement. Further, that the parties be granted

  additional time to file the Stipulation of Notice of Dismissal so that the dismissal can be filed

  after the Court has approved the settlement.

         4.      Once appointed the Guardian Ad Litem will review the files, medical records and

  interview the parents of the minor. He will also review the closing statement upon completion. The

  Plaintiffs are working diligently to obtain information about the liens, costs so that the closing

  statement can be finalized and presented to the Guardian Ad Litem for his review and approval.

         5.      The Guardian Ad Litem’s report and motion for approval of the Guardian Ad Litem’s

  report and for approval of the settlement will be submitted to the Court upon the completion of the

  guardian’s report. In this case, the settlement is governed by confidentiality. Hence, the parties will

  move for permission to file the Guardian Ad Litem’s report under seal.

         6.      Prior to filing this Motion, the undersigned conferred with counsel for Defendant

  who does not object to the relief sought.


         WHEREFORE, the Plaintiffs respectfully request that this Court retain jurisdiction until the

  settlement is consummated, and until such time that the Court has approved the Guardian Ad

  Litem’s report and the Settlement and that the Stipulation of Notice of Dismissal be filed within 30

  days of this Court approving the settlement, and any other relief this Court deems just and proper.



  Dated this 5th day of June, 2019.

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                                                         Respectfully Submitted,

                                                 By:     s/ C. Claire Armagnac-Rodriguez
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                                       CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that a true and correct copy of the foregoing was served via
  email this 5th day of June, 2019 to all counsel on the attached service list.


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  NASIM HARA and ALLEGRA HARA, Individually and on behalf of and as parents and natural
    guardians of a Minor Child, D.H. v. ROYAL CARIBBEAN CRUISES LTD, a/k/a ROYAL
   CARIBBEAN CRUISES LTD A LIBERIAN CORPORATION d/b/a ROYAL CARIBBEAN
              CRUISE LINE and d/b/a ROYAL CARIBBEAN INTERNATIONAL
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